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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                         JACKSONVILLE DIVISION


     SONIA ANTOINETTE DODD,

                              Petitioner,

     vs.                                                         Case No.         3:12-cv-1084-J-34MCR
                                                                                  3:09-cr-51(S1)-J-34MCR
     UNITED STATES OF AMERICA,

                     Respondent.
     _____________________________________/


                                                        ORDER

             THIS CAUSE is before the Court on the Report and Recommendation (Dkt. No. 32;

     Report), entered by the Honorable Monte C. Richardson, United States Magistrate Judge,

     on May 4, 2015. In the Report, Judge Richardson recommends that Petitioner Sonia

     Antoinette Dodd’s Motion to Vacate Under 28 U.S.C. § 2255 (Dkt. No. 1; Motion to Vacate)

     be denied.1 See Report at 32. On May 18, 2015, Dodd filed objections to the Report. See

     Petitioner’s Objections to Magistrate Judge’s Report and Recommendation (Dkt. No. 33;

     Objections). Respondent filed a response to the Objections on June 1, 2015. See United




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                       Dodd raised a number of claims in the Motion to Vacate, see generally Motion to Vacate, all
     but one of which the Court resolved by prior Order, see Order (Dkt. No. 19). As to this remaining issue, that
     Dodd’s counsel was ineffective in failing to appropriately advise her of the immigration consequences of a guilty
     plea, the Court determined that Dodd was entitled to an evidentiary hearing. See id. at 28. As such, the Court
     referred this claim to the assigned Magistrate Judge to appoint counsel to represent Dodd, conduct an
     evidentiary hearing on this claim, and prepare a Report and Recommendation recommending a resolution of
     the claim. See id. at 26-27. After appointing counsel, the Magistrate Judge conducted the requested
     evidentiary hearing. See Transcript of Evidentiary Hearing (Dkt. No. 29; Tr.). Recommending that Dodd’s
     request for relief on the sole remaining issue be denied, the Magistrate Judge consequently recommends
     denial of the Motion to Vacate.
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     States’ Response to Petitioner’s Objections to the Report and Recommendation (Dkt. No.

     34; Response). Thus, the matter is ripe for review.

            The Court “may accept, reject, or modify, in whole or in part, the findings or

     recommendations made by the magistrate judge.” 28 U.S.C. § 636(b). If no specific

     objections to findings of facts are filed, the district court is not required to conduct a de novo

     review of those findings. See Garvey v. Vaughn, 993 F.2d 776, 779 n.9 (11th Cir. 1993);

     see also 28 U.S.C. § 636(b)(1). However, the district court must review legal conclusions

     de novo. See Cooper-Houston v. Southern Ry. Co., 37 F.3d 603, 604 (11th Cir. 1994);

     United States v. Rice, No. 2:07-mc-8-FtM-29SPC, 2007 WL 1428615, at * 1 (M.D. Fla. May

     14, 2007).

            The Court will first consider Dodd’s objections to the Magistrate Judge’s factual

     findings. Preliminarily, the Court notes that Dodd does not object to the Magistrate Judge’s

     credibility determination. See Objections at 12. This is perhaps because the credibility

     findings made by the Magistrate Judge are without question fully supported by the record.

     Thus, the Court will turn to Dodd’s objections to the Magistrate Judge’s factual findings and

     conclusions.

            In the Objections, Dodd argues that "the evidence does not support the conclusion

     that petitioner's daughter [co-defendant Branddie Campbell] was going to testify against

     petitioner or that the petitioner believed that her daughter would testify against her."

     Objections at 6. This statement is refuted by the record. Dodd herself testified under oath

     that counsel “called my sister at her house to let my sister know that my daughter was going

     to be testifying against me.” Tr. at 40. Additionally, in response to the question “and you


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     said that you learned that your daughter was going to testify against you?”, Dodd responded

     “well, that’s what he told my sister.” Id. Along with the Motion to Vacate, Dodd submitted

     Movant’s Memorandum of Facts and Supporting Citations of Law in Support of Title 28

     U.S.C. §2255 Motion to Vacate Conviction and/or Set Aside Sentence of a Federal Prisoner

     (Dkt. No. 2; Memorandum) with exhibits. As an exhibit to the Memorandum, Dodd provided

     the Court a letter she wrote to her counsel, Wade Rolle, on February 24, 2010. See

     Memorandum Ex. G. In that letter, Dodd states that Rolle “swore up and down” that the

     Assistant United States Attorney told him that Dodd’s daughter “was going to testify against

     [her].” Id. Also in support of the Motion to Vacate, Dodd submitted to the Court an affidavit

     signed by her sister, Donna Marie Dodd, confirming that Rolle told her that Dodd’s daughter

     “would be testifying against [Dodd].” Memorandum Ex. C. Despite all of his, Dodd cites to

     counsel’s statement that he was made aware that Dodd’s daughter “would likely testify

     against her” and that seemed to deflate her intentions of going to trial. Objections at 7.

     Counsel also testified that Dodd “didn’t like the fact that there was the possibility that her

     daughter could come in and testify against her. . . . [S]he was upset at the possibility of her

     daughter testifying against her in trial. That affected–that’s what affected the plea.” Tr. at

     98-99. Neither of these statements by Dodd’s counsel detracts from Dodd’s own sworn

     testimony and evidence, which unambiguously reflect what she understood and believed --

     that her daughter was going to testify against her.

            Dodd also suggests that her daughter’s decision could not have made such a

     difference to her because Dodd would have known of the possibility of her daughter

     testifying throughout the entirety of the proceedings. She seems to suggest that because


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     it always was a possibility, counsel’s revelation of her daughter’s actual intent to testify

     would not have caused her to change her mind about going to trial. Dodd ignores the fact

     that while there may always have been some possibility of her daughter testifying against

     her, until the night before she pled guilty, Dodd understood that her daughter would not

     testify against her and intended to go to trial alongside Dodd. It was only upon being

     advised by counsel that her daughter had pled guilty and would, or as Dodd now claims

     would likely, testify against her that the circumstances changed. Whether counsel informed

     Dodd that her daughter would testify against her (as the Court finds) or that her daughter

     had pled guilty and would likely testify against her (as Dodd claims), counsel’s testimony that

     Dodd was deflated by the news and inquired about a possible plea remains, and the

     Magistrate Judge correctly credited that testimony.

            Next, the Court addresses Dodd’s contention that the Plea Agreement was not as

     beneficial as the Magistrate Judge suggests. See Objections at 7. Contrary to the

     assertions in the Objections, the benefits provided by the Plea Agreement were substantial.

     As part of the Plea Agreement, the government agreed to recommend that Dodd receive a

     two-level reduction for acceptance of responsibility and that the Court hold Dodd

     accountable for less than 1000 kilograms of marijuana.             The net effect of these

     recommendations would have been to lower Dodd’s advisory guidelines range pursuant to




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     the United States Sentencing Guidelines from 210-262 months2 to 140-175 months.3

     Although the Court ultimately rejected the parties’ agreement with respect to the lesser drug

     amount, at the time Dodd entered her plea, she certainly hoped the Court would accept the

     agreement. Notably, but for the Plea Agreement, Dodd had no reason to rationally expect

     that she would be held accountable for the lesser drug amount or that she could receive the

     reduction for acceptance of responsibility. Additionally, by pleading guilty, Dodd avoided the

     very real possibility that her daughter would testify. This is significant because in the

     Presentence Investigation Report, the Probation Officer recommended a two-level

     enhancement for the use of a minor in connection with the offense. Due to the limited

     information regarding Dodd’s daughter’s participation in the Presentence Investigation

     Report, at sentencing, the Court declined to apply the enhancement. However, had her

     daughter testified at Dodd’s trial, Dodd faced the likelihood that the daughter’s testimony

     would have developed the factual basis for applying the enhancement which would have

     increased her guideline range to 262-327 months.4 Accordingly, the benefits of the Plea

     Agreement were substantial.




             2
                     Calculated from an offense level 32 based upon a drug quantity of at least 1000 but less than
     3000 kilograms of marijuana with no reduction for acceptance of responsibility, and a criminal history category
     of VI.
             3
                      Calculated from an offense level 28 based upon a drug quantity of less than 1000 kilograms
     of marijuana with a 2 level reduction in the offense level for acceptance of responsibility, and a criminal history
     category of VI.
             4
                       Calculated from an offense level 34 based upon a drug quantity of at least 1000 but less than
     3000 kilograms of marijuana with no reduction for acceptance of responsibility and a 2 level increase in the
     offense level for the use of a minor to commit the offense, and a criminal history category of VI.

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            Turning to Dodd’s legal objections, Dodd contends that the Magistrate Judge’s

     “analysis applied a higher burden than that developed in Strickland[5] and Padilla.[6]” See

     Objections at 5. As to this issue, the Court begins by noting that the Magistrate Judge

     correctly cited to both Strickland and Padilla as supplying the applicable legal standard for

     Dodd’s claim. See Report at 27; see also id. at 2 (citing Hill v. Lockhart, 474 U.S. 52, 59

     (1985)). Indeed, consistent with Padilla, he noted that Dodd could show prejudice if she

     established “that a decision to reject the plea bargain would have been rational under the

     circumstances.” Id. at 28 (citing Padilla, 559 U.S. at 372). However, he also suggested that

     to establish prejudice Dodd had the burden of showing a “substantial likelihood that [she]

     would not have pled guilty under the particular circumstances of this case.” Id.

            To demonstrate the prejudice necessary to establish an entitlement to postconviction

     relief, the law requires Dodd to show “a reasonable probability that, but for counsel’s errors,

     [s]he would not have pleaded guilty and would have insisted on going to trial.” Hill v.

     Lockhart, 474 U.S. 52, 59 (1985); see also Lafler v. Cooper, 132 S.Ct. 1376, 1384-85

     (2012); Diveroli v. United States, 803 F.3d 1258, 1263-64 (11th Cir. 2015). “A reasonable

     probability is a probability sufficient to undermine confidence in the outcome.” Strickland,

     466 U.S at 696; see also Woodford v. Visciotti, 537 U.S. 19, 23 (2002); Rosin v. United

     States, 786 F.3d 873, 877 (11th Cir.), cert. denied, 136 S.Ct. 429 (2015). Confidence in the

     outcome would be undermined if Dodd were to show “that a decision to reject the plea

     bargain would have been rational under the circumstances.” Padilla, 559 U.S. at 372; see


            5
                   Strickland v. Washington, 466 U.S. 668 (1984).
            6
                   Padilla v. Kentucky, 559 U.S. 356 (2010).

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     also Diveroli, 803 F.3d at 1263, 1265; Hernandez v. United States, 778 F.3d 1230, 1234

     (11th Cir. 2015).

            While the Magistrate Judge’s use of inconsistent language in evaluating Dodd’s claim

     of prejudice is of some concern, it does not warrant the relief Dodd seeks. The Court must

     conduct a de novo review of legal conclusions recommended in the Report. Consistent with

     this obligation, the Court has thoroughly reviewed the record and is firmly convinced for all

     of the reasons articulated by the Magistrate Judge that Dodd has failed to show a

     reasonable probability that she would not have pled guilty had she known that deportation

     was mandatory rather than possible. Indeed, given the benefits of the Plea Agreement, the

     strength of the government’s case, the likelihood of facing her daughter as a witness for the

     government, and the fact that Dodd knew that deportation was at least possible and that if

     convicted she would face the same deportation consequences without the advantages

     obtained by pleading guilty, Dodd failed to make a persuasive showing that a decision to

     reject the plea bargain would have been rational under the circumstances.

            In the Objections, Dodd contends that the fact that she attempted to withdraw her

     guilty plea weighs in favor of a finding that she was prejudiced by the inaccurate advice

     regarding deportation. See Objections at 9. The Court disagrees. Dodd attempted to

     withdraw her plea based upon a myriad of assertions, none of which had any support in the

     record, and none of which were even remotely related to the immigration consequences of

     her guilty plea. See Motion to Appeal Guilty Plea (Dkt. No. 284). Far from supporting her

     claim that the immigration consequences of a guilty plea were critical to her decision, Dodd’s

     prior attempt to withdraw her guilty plea only shows Dodd’s willingness to rely on any

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     potential basis to escape the consequences of her actions.

            Additionally, the Court rejects Dodd’s contention that the Magistrate Judge relied too

     heavily on the strength of the government’s case. See Objections at 10-11. In assessing

     whether Dodd made the requisite showing that rejecting the Plea Agreement “would have

     been rational under the circumstances,” see Padilla, 130 S.Ct. at 1485, it was entirely

     appropriate, indeed necessary, for the Court to consider the strength of the government’s

     case. Moreover, the Magistrate Judge did not rely solely on the strength of the case.

     Instead, he viewed the government’s evidence in light of the fact that Dodd would have

     known that she would face the same immigration consequences of a conviction if she were

     convicted at trial and in light of the benefits she obtained by virtue of the Plea Agreement.

     In doing so, he correctly concluded that Dodd failed to show that despite knowing she could

     be deported as a result of a conviction, it would have been rational for her to reject the Plea

     Agreement if she had known that she would be deported.

            In reaching this decision, the Court, like the Magistrate Judge, rejects as not credible,

     Dodd’s contention that she would not have pled guilty had she known deportation was

     certain. See Report at 36. In addition to all of the reasons discussed by the Magistrate

     Judge, the Court notes that while counsel did not embrace the contention, at the time Dodd

     filed the Motion to Vacate she contended that when she pled guilty, she did not even know

     that she “could” be deported. See Memorandum at 9 (“Ms. Dodd only learned that she

     could be deported after being shipped off to prison and seeing women just like her, deported

     after unknowingly pleading guilty”). This suggestion is simply false. Preliminarily, the Court

     has accepted counsel’s sworn testimony that he advised Dodd that a conviction would


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     subject her to deportation proceedings, and as such, Dodd was aware of the possibility of

     deportation. Additionally, the Court notes that the transcript of the detention hearing, which

     Dodd herself attended, reflects that the prosecutor advised that Dodd was subject to

     deportation if convicted and that the Magistrate Judge repeated the prosecutor’s statement

     in making his detention findings. See Transcript of Digitally Recorded Detention Hearing

     (Dkt. No. 35) at 31, 43. Moreover, as noted by the Magistrate Judge in his written detention

     order, he found that Dodd faced the possibility of deportation if convicted. See Order of

     Detention Pending Trial (Dkt. No. 71) at 2. Thus, Dodd’s suggestion that she did not even

     know that she could be deported is refuted by the record.

             Dodd further fails to make any credible showing that a certainty of deportation, as

     opposed to the possibility of deportation, would have caused her to reject the benefits

     afforded by the Plea Agreement. Indeed, any suggestion that she would have done so is

     belied by Dodd’s statement in an affidavit submitted to the Court during this postconviction

     proceeding. See Motion Requesting Leave of Court to Amend “Reply to United States’

     Response in Opposition to Petitioner’s Pro Se Motion Pursuant to § 2255" with Attached

     “Affidavit of the Petitioner’s Dealings and Discussions Had With Her Third Court-Appointed

     Attorney Noel G. Lawrence” (Dkt. No. 15; Motion to Amend) Ex. 1 (Petitioner’s Affidavit).

     In the Petitioner’s Affidavit, Dodd states under oath that after learning that she could be

     deported she asked her counsel whether she should do a treaty transfer.7 See Petitioner’s

     Affidavit at 2. Specifically, she swears:

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                      The International Prisoner Transfer Program allows a federal prisoner to request a transfer
     to his or her home country if the United States has a treaty with that country. See How the Program Works,
     U.S. Dep’t of Justice Criminal OEO Int’l Prisoner Transfer Program (May 26, 2015),
     https://www.justice.gov/criminal-oeo/how-program-works.

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              Mr. Lawrence and I never really discussed any immigration issues or
              consequences until I got to prison and he told me that “If you are deported, it
              wouldn’t be so bad, considering that you’re from England.” Thereafter, I
              asked him if I should do a treaty transfer and he told me to hold on because
              some new laws were coming.

      Id. Dodd’s inquiry about a treaty transfer to England after “learning” that she “could” be

      deported is entirely inconsistent with a person willing to roll the dice and risk a substantially

      greater sentence just to secure the possibility of remaining in the United States.

              In sum, the Court confirms that Dodd failed to demonstrate prejudice resulting from

      any inaccurate advice from counsel regarding the immigration consequences of her guilty

      plea. Specifically, Dodd has not shown a reasonable probability that, but for counsel’s

      errors, she would not have pled guilty. She has not demonstrated that it would have been

      rational under the circumstances to reject her plea bargain and proceed to trial.

              Upon a thorough independent review of the file and for the reasons stated in Judge

      Richardson’s Report, the Court will overrule the Objections. With the exception of a

      scrivenor’s error in Footnote 10 on Page 10,8 the Court accepts the factual findings set forth

      in the Report. Additionally, having conducted a de novo review of the legal conclusions in

      the Report, modifying the analysis and applying the legal standard as stated in this Order,

      for the reasons stated in the Report and as supplemented here, the Court concludes that

      Dodd has failed to make a plausible showing that she suffered prejudice as a result of

      counsel’s failure to accurately advise her of the immigration consequences of a guilty plea.

      As such, the Court will deny relief as to this claim. Having previously denied relief as to all

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                       It is evident from a reading of the Report that the reference to attorney “Falcon” in Footnote
      10 is intended to read “Rolle.” Nevertheless, the Court in an abundance of caution confirmed Rolle’s status
      as a member “in good standing” of the Florida Bar during the relevant time frame. Thus, the Court reads
      Footnote 10 as referring to Attorney Wade Rolle.

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      of the other claims raised by Dodd, see Order, at this time Dodd’s Motion to Vacate is due

      to be denied.

            ORDERED:

            1.        Petitioner’s Objections to Magistrate Judge’s Report and Recommendation

      (Dkt. No. 33) are OVERRULED.

            2.        The Magistrate Judge’s Report and Recommendation (Dkt. No. 32), as

      modified and supplemented herein, is ADOPTED.

            3.        Petitioner Sonia Antoinette Dodd’s Motion to Vacate Under 28 U.S.C. § 2255

      (Dkt. No. 1) is DENIED.

            4.        The Clerk of the Court is directed to close the file.

            DONE AND ORDERED at Jacksonville, Florida, this 31st day of March, 2016.




      Copies to:

      The Honorable Monte C. Richardson
      United States Magistrate Judge

      Counsel of Record

      Petitioner Sonia Antoinette Dodd



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